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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

   UNITED STATES OF AMERICA,
       Plaintiff,

       v.
                                                         Crim. No. ELH-19-00160
   DEMETRIOS STAVRAKIS,
   a/k/a Dimitrios Stavrakis, a/k/a Jimmy
       Defendant.

                                       MEMORANDUM

       This criminal case is rooted in an arson that occurred at a commercial property in

Baltimore on July 29, 2015. The property is owned by the defendant, Demetrios “Jimmy”

Stavrakis, and housed his business. As a result of the fire, Mr. Stavrakis recovered about $15

million in insurance proceeds. He was charged with multiple offenses in a Second Superseding

Indictment. ECF 94.

       Trial began on September 9, 2019. ECF 149. On October 24, 2019, the jury convicted

the defendant of all four charges lodged in the Second Superseding Indictment. See ECF 217;

ECF 226

       Sentencing was held on February 12, 2020. ECF 251. On that date, the Court imposed

concurrent terms of imprisonment of five years as to Counts Two, Three, and Four, and a

consecutive sentence of ten years as to Count One, for a total term of 15 years of imprisonment.

ECF 264. That sentence corresponded to the statutory mandatory minimum. At the time of

sentencing, the Court set a self-surrender date for the defendant of April 20, 2020.

       The defendant filed an appeal on February 18, 2020. ECF 259. The appeal is pending.

       In view of the COVID-19 pandemic, the Court has extended the defendant’s surrender

date on three occasions. See ECF 272 (Order of March 23, 2020); ECF 281 (Order of April 30,
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2020); ECF 319 (Order of June 24, 2020). The government consented to two of the extensions.

See, e.g., ECF 280. The current surrender date is August 3, 2020. ECF 319.

          The defendant has now filed another motion to postpone his upcoming surrender date of

August 3, 2020. ECF 322 (the “Motion”). In the alternative, he seeks release pending appeal.

Id. The Motion is supported by exhibits.

          In the Motion, the defendant contends that, due to his underlying health conditions, he is

at high risk of severe illness or death due to COVID-19. Id. at 3. These health conditions

include cardiac disease, hypertension, obesity, and a recent Archilles tendon injury, for which he

is still in treatment. Id. And, the defendant asserts that he has been assigned to FCI Texarkana

in Texas, a state that is “one of the epicenters” for the pandemic. Id. at 4. Moreover, the

defendant contends that his appeal presents “substantial questions of law” regarding the

sufficiency of the evidence. Id. at 8 (citing 18 U.S.C. § 3143(b)(1)(B)). In his view, the release

pending appeal is justified by the strength of his legal challenge.

          The government vigorously opposes the Motion. ECF 323. In particular, it takes issue

with the defense contention concerning the merits of the appeal. The defendant has replied.

ECF 324.

          I shall first address the request for release pending appeal. Section 3143(b) of 18 U.S.C.

states:

          (b) Release or detention pending appeal by the defendant.--(1) Except as
          provided in paragraph (2), the judicial officer shall order that a person who has
          been found guilty of an offense and sentenced to a term of imprisonment, and
          who has filed an appeal or a petition for a writ of certiorari, be detained, unless
          the judicial officer finds—

                 (A) by clear and convincing evidence that the person is not likely to flee or
          pose a danger to the safety of any other person or the community if released
          under section 3142(b) or (c) of this title; and



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              (B) that the appeal is not for the purpose of delay and raises a substantial
       question of law or fact likely to result in—

            (i) reversal,

            (ii) an order for a new trial,

            (iii) a sentence that does not include a term of imprisonment, or

            (iv) a reduced sentence to a term of imprisonment less than the total of the
            time already served plus the expected duration of the appeal process.

       If the judicial officer makes such findings, such judicial officer shall order the
       release of the person in accordance with section 3142(b) or (c) of this title, except
       that in the circumstance described in subparagraph (B)(iv) of this paragraph, the
       judicial officer shall order the detention terminated at the expiration of the likely
       reduced sentence.

       (2) The judicial officer shall order that a person who has been found guilty of an
       offense in a case described in subparagraph (A), (B), or (C) of subsection (f)(1) of
       section 3142 and sentenced to a term of imprisonment, and who has filed an
       appeal or a petition for a writ of certiorari, be detained.

       Clearly, the defendant is not a flight risk. Throughout the duration of the case, he

appeared in Court, on time, every time his presence was required, including for the sentencing,

knowing he faced a mandatory minimum term of 15 years’ imprisonment, and without assurance

that he would be permitted to surrender. And, despite the gravity of the underlying offense, I do

not believe that the defendant poses a physical danger to the community at large. But, in my

view, the evidence at the trial was more than sufficient to convict. I conclude that defendant has

not satisfied the provisions of 18 U.S.C. § 3143(b)(1)(A)(i)-(iv).

       I turn to the defendant’s request to delay his reporting date due to the current global

pandemic.

       The nation is “in the grip of a public health crisis more severe than any seen for a

hundred years.” Antietam Battlefield KOA v. Hogan, CCB-20-1130, ___ F. Supp. 3d ___, 2020




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WL 2556496, at *1 (D. Md. May 20, 2020). That crisis is COVID-19.1 The World Health

Organization declared COVID-19 a global pandemic on March 11, 2020.                   See Seth v.

McDonough, PX-20-1028, 2020 WL 2571168, at *1 (D. Md. May 21, 2020).

       The judges of this Court “have written extensively about the pandemic.” United States v.

Williams, PWG-19-134, 2020 WL 3073320, at *1 (D. Md. June 10, 2020) (collecting cases).

Thus, it is not necessary for me to recount in detail its “unprecedented nature and impact.” Id.

       The virus is highly contagious.        See Coronavirus Disease 2019 (COVID-19), How

COVID-19 Spreads, CTRS. FOR DISEASE CONTROL & PREVENTION (Apr. 2, 2020),

https://bit.ly/2XoiDDh. Although many people who are stricken with the virus experience only

mild or moderate symptoms, the virus can cause severe medical problems as well as death,

especially for those in “high-risk categories….” Antietam Battlefield KOA, 2020 WL 2556496,

at *1 (citation omitted). Unfortunately, there is currently no vaccine, cure, “or proven effective

treatment” that is available. Id. (citation omitted).

       As of July 29, 2020, COVID-19 has infected more than 4 million Americans and caused

nearly 150,000 deaths in this country. See COVID-19 Dashboard, THE JOHNS HOPKINS UNIV.,

https://bit.ly/2WD4XU9 (last accessed July 29, 2020). Moreover, according to the Centers for

Disease Control and Prevention (“CDC”), certain risk factors increase the chance of severe

illness. The risk factors initially included age (over 65); lung disease; asthma; chronic kidney

disease; serious heart disease; obesity; diabetes; liver disease; and a compromised immune

system. See Coronavirus Disease 2019 (COVID-19), People Who Are At Risk for Severe Illness,

CTRS. FOR DISEASE CONTROL & PREVENTION (May 14, 2020), https://bit.ly/2WBcB16.


       1
         Severe Acute Respiratory Syndrome Coronavirus 2 (SARS-CoV-2) is the cause of
coronavirus disease 2019, commonly called COVID-19. Antietam Battlefield, 2020 WL at
2556496, at *1 n.1 (citation omitted).

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       On June 25, 2020, the CDC revised its guidance. And then, on July 17, 2020, to reflect

the most recently available data, the CDC again revised its guidance as to medical conditions that

pose a greater risk of severe illness due to COVID-19. According to the CDC, the factors that

increase the risk include cancer; chronic kidney disease; COPD; being immunocompromised;

obesity, where the body mass index (“BMI”) is 30 or higher; serious heart conditions, including

heart failure and coronary artery disease; sickle cell disease; and Type 2 diabetes. See People of

Any Age with Underlying Medical Conditions, CTRS. FOR DISEASE CONTROL & PREVENTION

(July 17, 2020), https://bit.ly/38S4NfY.

       The CDC has also created a second category for conditions that “might” present a risk for

complications from COVID-19. The factors that might increase the risk include cerebrovascular

disease, hypertension, pregnancy, liver disease, cystic fibrosis, neurologic conditions, a

compromised immune system, smoking, and Type I diabetes. See id. Moderate to severe asthma

is an underlying medical condition that was moved to the new category by the CDC; it is now

identified as a condition that “might” put an individual at higher risk for COVID-19

complications. See id.

       Thus far, the only way to slow the spread of the virus is to practice “social distancing.”

See Coronavirus Disease 2019 (COVID-19), How to Protect Yourself & Others, CTRS. FOR

DISEASE CONTROL & PREVENTION, https://bit.ly/3dPA8Ba (last accessed May 21, 2020). Social

distancing is particularly difficult in the penal setting, however. Seth, 2020 WL 2571168, at *2.

Prisoners have little ability to isolate themselves from the threat posed by the coronavirus. Id.;

see also Cameron, 2020 WL 2569868, at *1. They are not readily able to secure safety products

on their own to protect themselves, such as masks and hand sanitizers.             Consequently,

correctional facilities are especially vulnerable to viral outbreaks and ill-suited to stem their



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spread. See Coreas v. Bounds, TDC-20-0780, 2020 WL 1663133, at *2 (D. Md. Apr. 3, 2020)

(“Prisons, jails, and detention centers are especially vulnerable to outbreaks of COVID-19.”); see

also Letter of 3/25/20 to Governor Hogan from approximately 15 members of Johns Hopkins

faculty at the Bloomberg School of Public Health, School of Nursing, and School of Medicine

(explaining that the “close quarters of jails and prisons, the inability to employ effective social

distancing measures, and the many high-contact surfaces within facilities, make transmission of

COVID-19 more likely”);2 accord Brown v. Plata, 563 U.S. 493 519-20 (2011) (referencing a

medical expert’s description of the overcrowded California prison system as “‘breeding grounds

for disease’”) (citation omitted).

       On March 23, 2020, the CDC issued guidance for the operation of penal institutions to

help prevent the spread of the virus. Seth, 2020 WL 2571168, at *2. Notably, the BOP has

implemented substantial measures to mitigate the risks to prisoners, to protect inmates from

COVID-19, and to treat those who are infected. Indeed, as the Third Circuit recognized in

United States v. Raia, 954 F.3d 594, 597 (3rd Cir. 2020), the BOP has made “extensive and

professional efforts to curtail the virus’s spread.” Nevertheless, the Department of Justice has

recognized the unique risks posed to inmates and BOP employees from COVID-19.

       And, as with the country as a whole, the virus persists in penal institutions.3 As of July

29, 2020, the BOP reported that 3,781 inmates and 318 BOP staff currently tested positive for

COVID-19; 5,475 inmates and 631 staff have recovered; and 97 inmates and one staff member

have died from the virus. See https://www.bop.gov/coronavirus/ (last accessed July 19, 2020).


       2
           The Court may take judicial notice of matters of public record. See Fed. R. Evid. 201.
       3
          The New York Times has reported that cases of COVID-19 “have soared in recent
weeks” at jails and prisons across the country. Timothy Williams et al., Coronavirus cases Rise
Sharply in Prisons Even as They Plateau Nationwide,” N.Y. TIMES (June 18, 2020),
https://nyti.ms/37JZgH2.
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       The defendant is 54 years of age. He asserts that he suffers from hypertension, gout, and

obesity. See, e.g., ECF 322 at 3, 33. However, the defense has not provided the Court with

medical records documenting the defendant’s health conditions.             The defense previously

submitted ECF 317-2, dated June 23, 2020. It is a four-line letter from Louis Domenici, M.D.,

without supporting documentation. He asserts, in a conclusory fashion, that the defendant “has a

history of cardiac disease, hypertension, obesity and overall poor health” and therefore he

“should not be confined due to high risk [sic] for contracting COVID-19 and increased

mortality.” The summary assertions in the letter do little to establish that the defendant is truly at

risk from COVID-19 based on underlying health conditions.

       Nevertheless, the Court is mindful of the recent surge of COVID-19 cases nationally.

Therefore, the Court will postpone the defendant’s reporting deadline until September 9, 2020.

The Court does not intend to grant an indefinite delay, however. Therefore, any future defense

requests for postponement must be supported by adequate medical documentation.

       An Order follows.



Date: July 29, 2020                                          /s/
                                                      Ellen L. Hollander
                                                      United States District Judge




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